                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION

DELTONA TRANSFORMER
CORPORATION, a Florida Corporation,
                                                         JURY TRIAL DEMANDED
         Plaintiff,

v.                                                       Case No.:

THE NOCO COMPANY,
an Ohio corporation.

         Defendant.


                  COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

         Plaintiff, Deltona Transformer Corporation, by and through its undersigned attorneys, for

its Complaint against Defendant, The Noco Company, states and alleges as follows:

                                   NATURE OF THE ACTION

             1.   This is an action for trademark infringement, false designation of origin, unfair

 competition, and deceptive acts and practices in violation of the laws of the United States and

 the State of Florida. Plaintiff seeks entry of a permanent injunction and an award of profits,

 damages, and other related relief.

                                          THE PARTIES

             2.   Plaintiff, Deltona Transformer Corporation (“Plaintiff” or “DTC”) is a Florida

 corporation with its principal place of business at 801 International Speedway Blvd., Deland,

 Florida 32724.

             3.   Defendant, The Noco Company (“Defendant” or “NOCO”) is an Ohio

 corporation with its principal place of business at 30339 Diamond Parkway #102, Glenwillow,

 Ohio 44139.


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                                 JURISDICTION AND VENUE

             4.   Plaintiff’s claims are predicated upon the Lanham Trademark Act of 1946, as

 amended, 15 U.S.C. § 1051, et seq., and related claims under the statutory and common law of

 the State of Florida. This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331

 and 1338(a), and has supplemental jurisdiction over Plaintiff’s state and common law claims

 pursuant to 28 U.S.C. § 1367(a).

             5.   This Court has personal jurisdiction over Defendant because, upon information

 and belief, (1) Defendant has committed, and continues to commit, acts of infringement in the

 Middle District of Florida (the “District”); and (2) Defendant has purposefully directed

 infringing conduct at Plaintiff in the State of Florida, which has caused and continues to cause

 Plaintiff harm in the State of Florida.

             6.   Venue is proper under 28 U.S.C. §§ 1391 and 1400 because Defendant is

 subject to personal jurisdiction in the District and has committed acts of infringement in the

 District.

                                  GENERAL ALLEGATIONS

                            Plaintiff’s BATTERY TENDER® Marks

             7.   DTC is a privately-owned company, started in 1965. Since that time, DTC has

 engaged in designing, manufacturing, and distributing technologically advanced products in the

 automotive, motorcycle and power sport industries.

             8.   Since as early as 1991, DTC has itself, and/or through its licensees, used the

 BATTERY TENDER® and DELTRAN BATTERY TENDER® trademarks (the “Marks”) in

 commerce throughout the United States continuously in connection with the manufacture,

 distribution, provision, offering for sale, sale, marketing, advertising and promotion of batteries,



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 battery chargers, battery jump starters, power inverters, battery charger accessories and other

 battery-related products.

             9.    DTC is the owner of United States Trademark Registration No. 3474591

 registered on July 29, 2008, on the Principal Register, for the trademark BATTERY TENDER®

 for battery charger products and U.S. Trademark Registration No. 4281421 registered January

 29, 2013, for the trademark DELTRAN BATTERY TENDER® for battery charger products,

 battery charger accessories, and cigarette lighter adaptors. The foregoing registrations are both

 valid and subsisting, in full force and effect, and have become incontestable within the meaning

 of Section 15 of the Lanham Act, 15 U.S.C. § 1065. Attached as Composite Exhibit 1 are a

 true and correct copies of the registration certificates and maintenance records for Plaintiff’s

 United States Trademark Registrations No. 3474591 and 4281421.

             10.   DTC is the owner of United States Trademark Registration No. 4750963

 registered on June 9, 2015, for the BATTERY TENDER® trademark for batteries, battery

 charger products, battery jump starters, battery voltage indicators, solar panels, and other

 battery-related products and accessories. The foregoing registration is valid and subsisting and

 in full force and effect. Attached as Exhibit 2 is a true and correct copy of the registration

 certificate for Plaintiff’s United States Trademark Registration No. 4750963.

             11.   DTC is the owner of International Registration No. 1227645 for the BATTERY

 TENDER® trademark, registered July 29, 2014, for the various battery-related goods described

 below:

         Batteries; battery chargers; battery maintainers; battery monitors; battery testers;
         waterproof battery chargers; trickle battery chargers; renewable battery charger
         systems consisting primarily of battery charging devices, solar panels, charge
         controllers and battery cables; solar panels for production of electricity; power
         supplies for batteries; battery conditioners; battery voltage indicators; portable
         battery charger systems consisting primarily of battery charging devices, charge


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         controllers and battery cables; portable power supply systems consisting primarily
         of power supply devices, charge controllers and battery cables; battery jump
         starters; power supply connectors, battery charging devices and adaptors for use
         with portable electronic devices; battery cases; battery power connectors and
         adaptors; battery terminal connector clamps; carrying cases for battery chargers
         and accessories; digital voltage indicators; extension cables; and battery terminal
         harnesses.

             Attached as Exhibit 3 is a true and correct copy of the registration certificate for

 Plaintiff’s International Registration No. 1227645.

             12.    DTC is also the owner of over 35 other registrations worldwide for the

 BATTERY TENDER® trademark for similar goods identifications, including in Albania,

 Argentina, Armenia, Australia, Azerbaijan, Belarus, Brazil, Canada, Chile, China, Colombia,

 Cuba, Egypt, European Union, Georgia, Iceland, India, Indonesia, Israel, Japan, Kenya,

 Republic of Korea, Mexico, Norway, Philippines, Russia, Serbia, Singapore, South Africa,

 Switzerland, Thailand, Turkey, Ukraine, Venezuela, Vietnam, Taiwan.

             13.    BATTERY TENDER® branded products have for decades been, and today

 remain, as top-selling batteries, battery chargers and battery-related accessories in the

 automotive, motorcycle, and power sport industries.

             14.    BATTERY TENDER® branded battery chargers are consistently touted by the

 motorcycle and power sports industries as being the number one battery charger available.

             15.    Plaintiff’s Marks and the products offered thereunder have received significant

 unsolicited coverage in various forms of media and outlets.

             16.    The BATTERY TENDER® brand battery charger has been the only official

 authorized battery charger for the Harley-Davidson® Motorcycle Company for over a decade.

             17.    BMW® Automotive, BMW® Motorcycle, Lexus®, Corvette® and AAA® are all

 long-time customers of BATTERY TENDER® branded products.



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             18.   As a result of its widespread, continuous, and exclusive use of the Marks to

 identify its products and DTC as their source, Plaintiff owns and holds valid and subsisting

 federal statutory and common law rights to the Marks.

             19.   DTC’s Marks are distinctive to both the consuming public and Plaintiff’s trade.

             20.   DTC has expended substantial time, money, and other resources in developing,

 marketing, advertising, and otherwise promoting its Marks and products sold under the Marks.

             21.   Plaintiff, through its licensees and authorized distributors, distributes, provides

 and sells the products under the Marks through various means and modes throughout the United

 States and the world, including at retail outlets, at wholesale, through institutional channels and

 specialty stores and on the Internet, including the website located at www.batterytender.com.

             22.   Representative examples of DTC’s BATTERY TENDER® branded products are

 shown below and attached as Exhibit 4. As seen and evidenced in the product descriptions on

 the products’ labels, the images include a power sport battery, an automatic battery charger, a

 battery charger and maintainer, and a power inverter, all branded with DTC's Marks:




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             23.   As a result of DTC’s extensive expenditures and efforts, the Marks are widely

 and favorably known across the United States and internationally to the trade and purchasing

 public to exclusively identify the sole source of the products offered by DTC, signify the high

 quality of the products designated by the Marks, and have acquired incalculable distinction,

 reputation, and goodwill value belonging exclusively to DTC.

             24.   DTC has successfully policed, protected and enforced its Marks against past

 infringements, including, inter alia, Deltona Transformer Corporation v. SHFT Global, Inc. et

 al., 6:14-cv-00825-CEM-GJK (M.D.Fla.).

             25.   Upon information and belief, none of DTC’s competitors (apart from Defendant

 NOCO as described below) use Plaintiff's Marks in advertising competing batteries, battery

 chargers and other battery-related products.



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                           DEFENDANT’S UNLAWFUL ACTIVITIES

             26.   Defendant NOCO offers for sale battery chargers, jump starters, solar panels,

 portable power devices and other related products (www.no.co/about-us) that compete directly

 with DTC’s BATTERY TENDER® branded products.

             27.   Upon information and belief, learning of the selling power and value of the

 goodwill, distinction and reputation which DTC has created in the BATTERY TENDER® brand

 over the years, NOCO became incensed and focused on targeting DTC and its brand for its own

 benefit, including through comparative advertising, attempts to purchase the brand, and

 continuing unauthorized and improper uses of the Marks, all in a deliberate attempt to blatantly

 and deliberately divert attention and traffic to NOCO’s battery charger products and to harm

 DTC and its brand.

             28.   Initially, NOCO began its targeting DTC in comparative advertising campaigns

 that misused DTC’s trademark.

             29.   In particular, on or before June 5, 2015, DTC became aware of NOCO’s

 infringing adoption and use of the BATTERY TENDER® trademark and confusingly similar

 variations of the trademark (hereinafter, the “Infringing Marks”) to draw attention and traffic to

 Defendant’s battery charger products on Amazon’s website.

             30.   Besides using the Infringing Marks as a keyword to trigger NOCO’s targeted

 advertising on Amazon’s website, Defendant launched an advertisement containing a variation

 of Plaintiff's Marks, namely, “TENDER” to refer to DTC’s products.

             31.   Defendant's ad read “More Than Just A Tender. The Ultimate Charger.” An

 excerpt of the advertisement is shown below and a print out from the Amazon.com website is

 attached as Exhibit 5.



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             32.   Using keyword advertising and based upon the context and placement of the

 unlabeled advertisement, with no reference to NOCO's own brand anywhere in the ad,

 Defendant deliberately sought to draw attention and traffic to Defendant’s own battery charger

 products using DTC’s goodwill and distinction to harm DTC, its Marks and brand, and/or to

 mislead consumers as to the features and capabilities of DTC’s battery charger products.

             33.   On July 1, 2015, DTC sent NOCO a letter demanding that NOCO discontinue its

 unauthorized use of Plaintiff's Marks.

             34.   On or about August 13, 2015, Defendant removed the objected-to advertisement

 from the Amazon website.

             35.   Thereafter, on or before October 21, 2015, Defendant launched another almost

 identical advertising campaign using the Infringing Marks to again draw attention and traffic to

 NOCO's battery charger products. The new version had the same content and contextual



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 placement as the prior ad, but added a reference to Defendant’s brand “NOCO” at the top, as

 shown below:




             A copy of the advertisement dated October 21, 2015 is attached as Exhibit 6.

             36.    DTC thereafter contacted NOCO and demanded that the infringing

 advertisement be taken down, complaining of the use of DTC’s Mark as “TENDER.”

             37.    Defendant again revised its advertising campaign, which corrected the reference

 to DTC’s Mark in the claimed comparative advertisement from “TENDER” to use DTC’s full

 mark “BATTERY TENDER”:




             A copy of the revised advertisement dated January 5, 2016 is attached as Exhibit 7.

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             38.    Subsequently, on September 14, 2016, and thereafter, NOCO began

 communicating its interest in acquiring the assets of DTC, stating to DTC that NOCO wanted to

 be involved in “carrying on the legacy and passion of the Battery Tender brand.”

             39.    After DTC did not entertain NOCO’s purchase overtures, NOCO launched a new

 strategy to blatantly and deliberately divert attention and traffic to Defendant’s battery charger

 products and to harm DTC and its brand.

             40.    Rather than using the Infringing Marks to refer to DTC and its products, as

 NOCO's previously challenged and later removed advertisements had done, Defendant’s new

 advertising campaign used the Infringing Marks to refer instead to NOCO's own brand in an

 effort to bootstrap its products to and benefit from the selling power of DTC’s brand.

             41.    For example, NOCO’s ad launched on or before June 29, 2018, stated “The most

 advanced battery tender for any vehicle” using “battery tender” to refer to NOCO's own brand

 and product:




             A copy of the advertisement is attached as Exhibit 8.

             42.    On July 10, 2018, DTC issued yet another demand to NOCO objecting to such

 infringing ad campaign.




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             43.    By July 18, 2018, Defendant’s advertisement was no longer visible on

 Amazon.com.

             44.    However, on or before December 7, 2018, Defendant brought another infringing

 ad campaign that read “The Winter Battery Tender with Zero Overcharge” (emphasis added)

 referring to NOCO’s own brand and product:




             A copy of the advertisement is attached as Exhibit 9.

             45.    On December 12, 2018, DTC again demanded that NOCO cease its use of

 DTC’s Mark.

             46.    By December 19, 2018, that ad was no longer visible on Amazon.com.

             47.    Despite the specific above ads being no longer visible on Amazon, Defendant

 has acknowledged and continues to use the Infringing Marks in its advertising and marketing

 materials for its brand and products.

             48.    Indeed, in what is yet another deliberate attempt to try and bootstrap its products

 to the selling power and goodwill derived from DTC’s brand for NOCO’s own benefit, and to

 DTC’s detriment, NOCO has made and continues to make statements to third parties, including


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 potential consumers, that its products are “battery tenders.” For example, such a statement was

 made via a message from a NOCO Support Agent provided in an online chat message on

 January 31, 2019:




             A copy of the above screenshot is attached as Exhibit 10.

             49.    Not only does NOCO’s continuing use and statements make unauthorized use of

 DTC’s Marks, but, it is now falsely representing to consumers that the Infringing Mark when

 used in all lowercase is somehow transformed from a federally-registered incontestable

 trademark exclusively owned by DTC into a replacement for the terms “battery charger” or

 “battery maintainer” despite the fact that, inter alia, consumers exclusively understand the

 Marks to identify DTC and its products, and no other competitor of DTC uses the Marks in such

 a way.

             50.    Defendant’s infringing acts have caused and are likely to cause confusion,

 mistake, and deception among the relevant consuming public as to the source or origin of the

 NOCO's products and have and are likely to deceive the relevant consuming public into



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 believing, mistakenly, that NOCO’s products originate from, are associated or affiliated with, or

 are otherwise authorized by DTC.

             51.   Defendant’s acts are willful with the intent to trade on the goodwill, distinction

 and reputation of Plaintiff’s brand and Marks, cause confusion and deception in the

 marketplace, and divert potential sales of Plaintiff’s products to the Defendant.

             52.   Defendant’s acts are causing, and unless restrained, will continue to cause

 damage and irreparable harm to Plaintiff and to its valuable hard-earned reputation, distinction

 and goodwill with the consuming public for which Plaintiff has no adequate remedy at law.

             53.   As a result of Defendant's infringing activities and unfair competition, Plaintiff

 has been damaged.

             54.   DTC has retained the undersigned counsel and is obligated to pay it a reasonable

 fee in connection with this action.

                                            COUNT I
                                 Federal Trademark Infringement

             55.   Plaintiff adopts, repeats and realleges each and every allegation previously set

 forth in paragraphs 1-54 in this Complaint as if fully set forth in this paragraph.

             56.   DTC is the sole and exclusive owner of the federally-registered Marks.

             57.   The Marks, as used by DTC in connection with its goods, are inherently

 distinctive and/or have acquired secondary meaning.

             58.   Indeed, DTC’s United States Registration No.’s 3474591 and 4281421 for the

 Marks are incontestable and, thus, it is conclusively presumed that such Marks are inherently

 distinctive and/or have acquired secondary meaning under 15 U.S.C.A. § 1115(b).

             59.   Defendant has used and is continuing to use the Infringing Marks in providing

 identical or substantially similar goods and services to those offered by Plaintiff.


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             60.   Defendant’s activities complained of herein have been without Plaintiff’s

 consent.

             61.   Defendant’s unauthorized use in commerce of the Infringing Marks as alleged

 herein is likely to deceive consumers as to the origin, source, sponsorship, or affiliation of

 Defendant’s products, and is likely to cause consumers to believe, contrary to fact, that

 Defendant’s products are sold, authorized, endorsed, or sponsored by Plaintiff, or that

 Defendant is in some way affiliated with or sponsored by Plaintiff. Defendant’s conduct

 therefore constitutes trademark infringement in violation of Section 32(1) of the Lanham Act,

 15 U.S.C. § 1114(1).

             62.   Defendant has committed the foregoing acts of infringement with full knowledge

 of Plaintiff’s prior rights in the Marks and with the willful intent to cause confusion and trade

 on Plaintiff’s goodwill and reputation.

             63.   Defendant’s conduct is causing immediate and irreparable harm and injury to

 Plaintiff, and to its goodwill and reputation, and will continue to both damage Plaintiff and

 confuse the public unless enjoined by this Court. Plaintiff has no adequate remedy at law.

             64.   Plaintiff is entitled to, among other relief, injunctive relief and an award of actual

 damages, Defendant’s profits, enhanced damages and profits, reasonable attorneys’ fees, and

 costs of the action under Sections 34 and 35 of the Lanham Act, 15 U.S.C. §§ 1116, 1117,

 together with prejudgment and post-judgment interest.


                                           COUNT II
                   Federal False Designation of Origin and Unfair Competition

             65.   Plaintiff adopts, repeats and realleges each and every allegation previously set

 forth in paragraphs 1-54 in this Complaint as if fully set forth in this paragraph.



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             66.   Defendant’s unauthorized use in commerce of the Infringing Marks is likely to

 deceive consumers as to the origin, source, sponsorship, or affiliation of Defendant’s products,

 and is likely to cause consumers to believe, contrary to fact, that Defendant’s products are sold,

 authorized, endorsed, or sponsored by Plaintiff, or that Defendant is in some way affiliated with

 or sponsored by Plaintiff.

             67.   Defendant’s unauthorized use in commerce of the Infringing Marks constitutes

 use of a false designation of origin and misleading description and representation of fact.

             68.   Upon information and belief, Defendant’s conduct is willful and is intended to

 and is likely to cause confusion, mistake, or deception as to the affiliation, connection, or

 association of Defendant with Plaintiff.

             69.   Defendant’s conduct constitutes unfair competition and false designation of

 origin in violation of Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).

             70.   Defendant’s conduct is causing immediate and irreparable harm and injury to

 Plaintiff, and to its goodwill and reputation, and will continue to both damage Plaintiff and

 confuse the public unless enjoined by this court. Plaintiff has no adequate remedy at law.

             71.   Plaintiff is entitled to, among other relief, injunctive relief and an award of actual

 damages, Defendant’s profits, enhanced damages and profits, reasonable attorneys’ fees, and

 costs of the action under Sections 34 and 35 of the Lanham Act, 15 U.S.C. §§ 1116, 1117,

 together with prejudgment and post-judgment interest.

                                        COUNT III
                            Common Law Trademark Infringement and
                                     Unfair Competition

             72.   Plaintiff adopts, repeats and realleges each and every allegation previously set

 forth in paragraphs 1-54 in this Complaint as if fully set forth in this paragraph.



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             73.   The aforementioned acts of Defendant constitute trademark infringement and

 unfair competition in violation of the common law of the State of Florida.

             74.   Such conduct on the part of Defendant has allowed Defendant to wrongfully

 profit and has injured Plaintiff in an amount to be determined at trial and has caused and

 threatens to cause irreparable injury to Plaintiff, for which Plaintiff has no adequate remedy at

 law.

         75.       Defendant’s actions as set forth above permit recovery of Defendant’s profits,

damages, and costs by Plaintiff, including treble damages and Plaintiff’s attorney’s fees.

         76.       Defendant’s conduct was malicious and wanton and Plaintiff is entitled to an

award of punitive damages under Florida law.

                                                COUNT IV
                            Florida’s Deceptive and Unfair Trade Practices Act

             77.   Plaintiff adopts, repeats and realleges each and every allegation previously set

 forth in paragraphs 1-54 in this Complaint as if fully set forth in this paragraph.

             78.   Defendant has been misleading consumers and is causing a likelihood of

 confusion or misunderstanding as to the source, sponsorship, or approval of its goods and

 services, and is otherwise damaging the public. Defendant’s conduct constitutes unfair and

 deceptive acts or practices in the course of a business, trade, or commerce in violation of the

 Florida Deceptive and Unfair Trade Practices Act, § 501.201 et seq., Fla. Stat. (2011).

         79.       Defendant’s conduct has caused and is likely to continue to cause substantial

injury to the public and to Plaintiff, entitling Plaintiff to injunctive relief and to recover damages,

its costs and its reasonable attorney’s fees.




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                                    PRAYER FOR RELIEF

         WHEREFORE, Plaintiff, Deltona Transformer Corporation, prays that this Court enter

judgment against Defendant, The Noco Company, and in favor of Plaintiff as follows:

         1.    Finding that Defendant’s activities complained of herein are unlawful under

               Federal and Florida law;

         2.    Granting an injunction permanently enjoining the Defendant, its employees,

               agents, officers, directors, managers, attorneys, successors, affiliates, subsidiaries,

               and assigns, and all of those in active concert and participation with any of the

               foregoing persons and entities from:

               a.     manufacturing, distributing, supplying, providing, selling, marketing,

                      advertising, promoting, or authorizing any third party to manufacture,

                      distribute, supply, provide, sell, market, advertise or promote batteries,

                      battery chargers and battery accessories bearing the mark BATTERY

                      TENDER® or any other mark that is a counterfeit, copy, simulation,

                      confusingly similar variation, or colorable imitation of Plaintiff’s

                      BATTERY TENDER® mark;

               b.     engaging in any activity that infringes Plaintiff’s rights in its BATTERY

                      TENDER® mark;

               c.     engaging in any activity constituting unfair competition with Plaintiff;

               d.     making or displaying any statement, representation, or depiction that is

                      likely to lead the public or the trade to believe that (i) Defendant’s goods

                      are in any manner approved, endorsed, licensed, sponsored, authorized, or

                      franchised by or associated, affiliated, or otherwise connected with



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                     Plaintiff or (ii) Plaintiff’s goods are in any manner approved, endorsed,

                     licensed, sponsored, authorized, or franchised by or associated, affiliated,

                     or otherwise connected with Defendant;

              e.     using or authorizing any third party to use in connection with any

                     business, goods, or services any false description, false representation, or

                     false designation of origin, or any marks, names, words, symbols, devices,

                     or trade dress that falsely associate such business, goods and/or services

                     with Plaintiff or tend to do so;

              f.     registering or applying to register any trademark, service mark, domain

                     name, trade name, or other source identifier or symbol of origin consisting

                     of or incorporating the mark BATTERY TENDER® or any other mark

                     that infringes or is likely to be confused with Plaintiff’s BATTERY

                     TENDER® mark, or any goods or services of Plaintiff, or Plaintiff as their

                     source; and

              g.     aiding, assisting, or abetting any other individual or entity in doing any act

                     prohibited by sub-paragraphs (a) through (f).

         3.   Granting such other and further relief as the Court may deem proper to prevent

              the public and trade from deriving the false impression that any goods or services

              manufactured, sold, distributed, supplied, licensed, marketed, advertised,

              promoted, or otherwise offered or circulated by Defendant are in any way

              approved, endorsed, licensed, sponsored, authorized, or franchised by or

              associated, affiliated, or otherwise connected with Plaintiff or constitute or are

              connected with Plaintiff’s goods.



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         4.   Directing Defendant to immediately cease all manufacture, display, distribution,

              supply, marketing, advertising, promotion, sale, offer for sale and/or use of any

              and all packaging, labels, catalogs, shopping bags, containers, advertisements,

              signs, displays, and other materials that feature or bear any designation or mark

              incorporating the mark BATTERY TENDER® or any other mark that is a

              counterfeit, copy, simulation, confusingly similar variation, or colorable imitation

              of Plaintiff’s BATTERY TENDER® mark, and to direct all distributors, retailers,

              wholesalers, and other individuals and establishments wherever located in the

              United States that distribute, advertise, promote, sell, or offer for sale Defendant’s

              goods or services to cease forthwith the display, distribution, marketing,

              advertising, promotion, sale, and/or offering for sale of any and all goods,

              services, packaging, labels, catalogs, shopping bags, containers, advertisements,

              signs, displays, and other materials featuring or bearing the mark BATTERY

              TENDER® or any other mark that is a counterfeit, copy, simulation, confusingly

              similar variation, or colorable imitation of the Plaintiff’s BATTERY TENDER®

              mark, and to immediately remove them from public access and view.

         5.   Directing that Defendant recall and deliver up for destruction or other disposition

              all goods, packaging, shopping bags, containers, advertisements, promotions,

              signs, displays, and related materials incorporating or bearing the mark

              BATTERY TENDER® or any other mark that is a counterfeit, copy, confusingly

              similar variation, or colorable imitation of Plaintiff’s BATTERY TENDER®

              mark.




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         6.    Directing, pursuant to Section 35(a) of the Lanham Act (15 U.S.C. § 1116(a)),

               Defendant to file with the court and serve upon Plaintiff’s counsel within thirty

               (30) days after service on Defendant of an injunction in this action, or such

               extended period as the court may direct, a report in writing under oath, setting

               forth in detail the manner and form in which Defendant has complied therewith.

         7.    Awarding Plaintiff an amount up to three times the amount of its actual damages,

               in accordance with Section 35(a) of the Lanham Act (15 U.S.C. § 1117(a)).

         8.    Directing that Defendant account to and pay over to Plaintiff all profits realized

               by its wrongful acts in accordance with Section 35(a) of the Lanham Act (15

               U.S.C. § 1117(a)), enhanced as appropriate to compensate Plaintiff for the

               damages caused thereby.

         9.    Awarding Plaintiff punitive and exemplary damages as the court finds appropriate

               to deter any future willful infringement.

         10.   Declaring that this is an exceptional case pursuant to Section 35(a) of the Lanham

               Act and awarding Plaintiff its costs and reasonable attorneys’ fees thereunder (15

               U.S.C. § 1117(a)).

         11.   Awarding Plaintiff interest, including prejudgment and post-judgment interest, on

               the foregoing sums.

         12.   Awarding such other and further relief as the Court deems just and proper.




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                                      JURY TRIAL DEMAND

         Plaintiff hereby demands a trial by jury on all issues so triable.

         Dated: February 14, 2019               Respectfully submitted,

                                                /s/ Patricia M. Flanagan
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